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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION

CAROLINA MAYEUX,                            §
    Plaintiff                               §
                                            §
v.                                          §            CIVIL ACTION NO. 3:15-CV-00052
                                            §
STATE FARM LLOYDS,                          §
     Defendant                              §

______________________________________________________________________________

                   PLAINTIFF’S FIRST AMENDED PETITION
______________________________________________________________________________
TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Carolina Mayeux (“Plaintiff” or “Mayeux”), and files this Plaintiff’s First

Amended Petition, complaining of State Farm Lloyds (“STATE FARM” or “Defendant”) and, for

cause of action, Plaintiff would respectfully show this Honorable Court the following:

                              DISCOVERY CONTROL PLAN

1.     Mayeux intends for discovery to be conducted under Level 2 of Rule 190 of the Texas

Rules of Civil Procedure.

                                           PARTIES

2.     Carolina Mayeux is an individual residing in Galveston County, Texas.

3.     Defendant is a Texas insurance company engaging in the business of insurance in the State

of Texas. Defendant may be served by serving its Attorney for Service, Rendi Black c/o State

Farm, 17301 Preston Road, Dallas, Texas 75252 by certified mail, return receipt.

                                       JURISDICTION

4.     The Court has jurisdiction over this cause of action because the amount in controversy is

within the jurisdictional limits of the Court. Mayeux is seeking monetary relief over $50,000 but


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not more than $1,000,000. Mayeux reserves the right to amend the petition during and/or after the

discovery process.

5.     The Court has jurisdiction over Defendant because this defendant is a Texas insurance

company conducting business in the State of Texas.

                                             VENUE

6.     Venue is proper in Galveston County, Texas, because the insured property is situated in

Galveston County, Texas. Tex. Civ. Prac. & Rem. Code §15.032.

                                             FACTS

7.     Mayeux is the owner of a Texas Homeowners’ Insurance Policy number 5386407038

(hereinafter referred to as “the Policy”), which was issued by Defendant.

8.     Mayeux owns the insured property, which is specifically located at 5313 Thistle Drive

Dickenson, Texas 77539, in Galveston County (hereinafter referred to as “the Property”).

9.     Defendant sold the Policy insuring the Property to Mayeux.

10.    On July 4, 2012, Plaintiff hired Super Plumber Company. They detected a leak under the

foundation. This leak caused extensive damage to the Plaintiff’s property. Plaintiff then contacted

State Farm to open a water claim. State Farm hired Vortex Plumbing, Inc. on or about July 30,

2012, which verified the findings of Super Plumber Company that there was indeed a leak under

the foundation.

11.    State Farm paid a minimum amount towards the claim based on Vortex’s findings which

did not address any of the foundation or most of the cosmetic damage related to this claim with

their payment.




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12.    After the fact, JK Core Enterprises Inc. forwarded to State Farm their estimate and photos,

foundation reports by Continental Foundation both for March 2010 and August 24, 2012, and

Keelan Engineering Services dated September 3, 2012.

13.    State Farm did not address these issues mentioned with payment, however they sent Brown

Consulting Services Inc. for another inspection. The only response from Brown Consulting

Services regarding their initial inspection was a request of additional testing.

14.    The grossly proportionate difference between the JK Core estimate and the Vortex estimate

made it apparent that the amount of damage was in dispute.

15.    JK Core stated that in order to resolve the dispute concerning the value of the loss, they

would invoke the right to have the loss appraised by a competent and disinterested third party. The

appraisal process was done through the Galveston Court and State Farm opted not to participate.

16.    State Farm did not have a valid reason for not participating, and said that they did not

accept appraisal as a means to resolve the issue although the policy allows for the appraisal process

to be invoked when the amount of damages is in dispute. Since State Farm did not participate, they

were provided with the name, company, phone number, and email address of Rocky Garner who

was the appraiser that was designated by JK Core. The Galveston Court appointed an umpire.

17.    There has been sufficient testing and evaluations by many experts at this point in order for

State Farm to express the water claim properly. The Department of Insurance Code has

requirements for an insurer to investigate and adjust claims in a timely manner. State Farm is using

the request of additional inspections as a tactic to avoid paying additional money towards the claim.

At this time Defendant has failed to fully and accurately adjust the loss and has failed to issue full

payment in a timely manner. Further, the Defendant wrongfully failed to participate in the

appraisal process.



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18.    Defendant set about to deny and/or underpay on properly covered damages. As a result of

Defendant’s unreasonable investigation of the claim, including not providing full coverage for the

damages sustained by Mayeux, as well as under-scoping the damages during its investigation and

thus denying adequate and sufficient payment to Mayeux to repair the home, Mayeux’s claim was

improperly adjusted. The mishandling of Mayeux’s claim has also caused a delay in the ability to

fully repair the home, which has resulted in additional damages. To this date, Mayeux has yet to

receive the full payment to which is entitled under the Policy.

19.    Defendant failed to meet its obligations under the Texas Insurance Code regarding payment

of claim without delay. Specifically, it has delayed full payment of Mayeux’s claim longer than

allowed and, to date, Mayeux has not received full payment for the claim. DEFENDANT’s

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. Tex. Ins.

Code §542.058.

                                      BREACH OF CONTRACT

20.    Defendant’s conduct constitutes a breach of the insurance contract made between

DEFENDANT and Mayeux.

21.    Defendant’s failure and/or refusal, as described above, to pay the adequate compensation

as it is obligated to do under the terms of the Policy in question, and under the laws of the State of

Texas, constitutes a breach of DEFENDANT’s insurance contract with Mayeux.

                       NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                            THE PROMPT PAYMENT OF CLAIMS

22.    From Defendant’s violations of the Texas Insurance Code § 542, subchapter B, Prompt

Payment of Claims. Specifically, failing to request all items, statements, and forms that you

reasonably believed would be required within the applicable time constraints; delaying full

payment of my client’s claim longer than allowed.

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23.    Defendant’s delay of the payment of Plaintiff’s constitutes a non-prompt payment of the

claim. Tex. Ins. Code §542.058.

                       NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                            UNFAIR SETTLEMENT PRACTICES

24.    From your violations of the Texas Insurance Code § 541, Unfair Settlement Practices.

Specifically, conducting an unreasonable investigation; failing to attempt in good faith a prompt,

fair, and equitable settlement; knowingly misrepresenting to my client that the damage to the

property was not covered under the policy, even though the damage was caused by a covered

occurrence; and wrongfully denying or underpaying the claim for repairs even though my client’s

policy provides coverage for such loss.

                                       DTPA VIOLATIONS

25.    Defendant has violations of the Tex. Bus. & Com. Code §17.46(b), Deceptive Trade

Practices Unlawful. Specifically, knowingly making misrepresentations to my client regarding the

need for replacement or repair to her property.

                                          DAMAGES

26.    For breach of contract, Mayeux is entitled to regain the benefit of the bargain, which is the

amount of the claim, together with attorney’s fees.

27.    For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Mayeux is

entitled to the amount of the claim, as well as eighteen (18) percent interest per annum on the

amount of such claim as damages, together with attorney's fees. Tex. Ins. Code §542.060.

28.    For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Mayeux

is entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing conduct of




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the acts described above, Mayeux asks for three times the actual damages. Tex. Ins. Code

§541.152.

29.      For the prosecution and collection of this claim, Mayeux has been compelled to engage the

services of the attorney whose name is subscribed to this pleading. Therefore, Mayeux is entitled

to recover a sum for the reasonable and necessary services of Mayeux’s attorney in the preparation

and trial of this action, including any appeals to the Court of Appeals and/or the Supreme Court of

Texas.

30.      Mayeux is not making any claims for relief under federal law.

                                         JURY DEMAND

31.      Mayeux hereby requests that all causes of action alleged herein be tried before a jury

consisting of citizens residing in Galveston County, Texas. Mayeux hereby tenders the appropriate

jury fee.

                                             PRAYER

         WHEREFORE, PREMISES CONSIDERED, Mayeux prays that upon trial hereof, said

Plaintiff has and recover such sums as would reasonably and justly compensate in accordance with

the rules of law and procedure, as to actual damages, treble damages under the Texas Insurance

Code, and all punitive and exemplary damages as may be found. In addition, Mayeux requests the

award of attorney’s fees for the trial and any appeal of this case, for all costs of Court on Mayeux’s

behalf expended, for prejudgment and post judgment interest as allowed by law, and for any other

and further relief, either at law or in equity, to which Mayeux may show justly entitled.




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                                         Respectfully submitted,


                                         By: ___________________________________
                                               Shaun W. Hodge
                                               Texas Bar # 24052995
                                               Federal Bar # 1045838
                                               THE HODGE LAW FIRM, PLLC
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                                               Galveston, Texas 77550
                                               Telephone: (409) 762-5000
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                                               shodge@hodgefirm.com
                                               ATTORNEY FOR PLAINTIFF




                             CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on September 4, 2015, a copy of the
foregoing instrument was served upon the following counsel of record in accordance with
the Federal Rules of Civil Procedure:

Brian Michael Chandler
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                                  ________________________________
                                  Shaun W. Hodge




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